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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ARNULFO RODRIGUEZ,                                §
                                                  §
       Movant,                                    §
                                                  §
v.                                                §       Civil Action 4:18-cv-876-O
                                                  §       (Criminal No. 4:16-cr-029-O (4))
UNITED STATES OF AMERICA,                         §
                                                  §
       Respondent.                                §

                       ORDER DENYING PENDING MOTIONS

       Defendant Arnulfo Rodriguez filed this case through a form Motion to Vacate under 28

U.S.C. § 2255. Mot. Vacate, ECF No. 1. Rodriguez accompanied that § 2255 motion with a motion

for discovery and for copies of transcripts, as well as a separate motion to receive copies of records

at government expense. Mot. Discovery, ECF No. 4; Mot. Copies, ECF No. 5. Under Rule 6 of the

Rules Governing Section 2255 Proceedings for the United States District Courts, a movant must

show good cause to obtain discovery in a § 2255 proceeding. Although Rodriguez has filed a § 2255

motion, he has not otherwise made any showing of what particular discovery he seeks and how it

would assist the resolution of that motion, in order for the Court to consider whether good cause

exists to allow discovery. Thus, the motion for discovery must be denied.

       Rodriguez has also filed a separate motion to receive copies at government expense with an

incorporated request to proceed in forma pauperis. Mot. Copies, ECF No. 5. Although 28 U.S.C. §

2250 authorizes the Court to provide copies of documents to an indigent movant, “[a] federal

prisoner is not entitled to obtain copies of court records at Government expense for the purpose of

searching the record for possible error.” Walker v. United States, 424 F.2d 278, 279 (5th Cir. 1970)

(citations omitted).
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         Further, under 28 U.S.C. § 753(f), a district court has the power to order a free transcript to

an indigent defendant1 proceeding under § 2255, “if the trial judge . . . certifies that the suit . . . is

not frivolous and that the transcript is needed to decide the issue presented. . . .” 28 U.S.C. § 753(f).

The Court concludes that Rodriguez has not satisfied this standard. Defendant is not entitled to the

requested free copies of documents or transcripts.

         It is therefore ORDERED that the motion for discovery (ECF No. 4) and the motion for

copies at government expense (ECF No. 5), are DENIED.

         SO ORDERED this 13th day of November, 2018.



                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




         1
          As Defendant is not entitled to free copies of documents or transcripts, his incorporated motion to proceed
in forma pauperis is denied.

                                                         2
